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 1                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
 2                                   SAN FRANCISCO DIVISION

 3   In re: CATHODE RAY TUBE (CRT)                             Master File No. 07-5944 SC
     ANTITRUST LITIGATION
 4
                                                               MDL No. 1917
 5   This Document Relates to:
 6   Sharp Elecs. Corp. v. Hitachi, Ltd., No. 13-cv-
     01173;
 7
     Electrograph Systems, Inc. et al. v. Technicolor SA,
 8   et al., No. 13-cv-05724;                                  DECLARATION OF DAVID M.
                                                               PETERSON IN SUPPORT OF
 9   Siegel v. Technicolor SA, et al., No. 13-cv-05261;        PLAINTIFFS’ ADMINISTRATIVE
                                                               MOTION TO SEAL PORTIONS OF
10   Best Buy Co., Inc. v. Technicolor SA, et al., No. 13-     THEIR OPPOSITION TO
     cv-05264;                                                 DEFENDANT THOMSON
11                                                             CONSUMER’S MOTION FOR
     Interbond Corporation of America v. Technicolor           SUMMARY JUDGMENT AND
12   SA, et al., No. 13-cv-05727;                              PARTIAL SUMMARY JUDGMENT
                                                               PURSUANT TO CIVIL LOCAL
13   Office Depot, Inc. v. Technicolor SA, et al., No. 13-     RULES 7-11 AND 79-5(d)
     cv-05726;
14
     Costco Wholesale Corporation v. Technicolor SA, et
15   al., No. 13-cv-05723;                                     The Honorable Samuel Conti

16   P.C. Richard & Son Long Island Corporation, et al.
     v. Technicolor SA, et al., No. 13-cv-05725
17
     Schultze Agency Services, LLC, o/b/o Tweeter Opco,
18   LLC, et al. v. Technicolor SA, Ltd., et al., No. 13-cv-
     05668;
19
     Sears, Roebuck and Co. and Kmart Corp. v.
20   Technicolor SA, No. 3:13-cv-05262;
21   Target Corp. v. Technicolor SA, et al., No. 13-cv-
     05686;
22
     Tech Data Corp., et al. v. Hitachi, Ltd., et al., No.
23   13-cv-00157;
24   Viewsonic Corp. v. Chunghwa Picture Tubes, Ltd.,
     No. 14-cv-02510.
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     DECLARATION IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER
                                             SEAL
                                        Master File No. 3:07-cv-5944 SC
     3473930v1/012325
         Case 4:07-cv-05944-JST Document 3236-1 Filed 12/22/14 Page 2 of 3



 1   I, David M. Peterson hereby declare as follows:

 2           1.         I am attorney and counsel for plaintiff Alfred H. Siegel, solely in his capacity as
 3   Trustee of the Circuit City Stores, Inc. Liquidating Trust.
 4
             2.         I submit this declaration in support of Plaintiffs’ Administrative Motion to Seal
 5
     Portions of their Opposition to Thomson Consumer’s Motion for Summary Judgment and Partial
 6
     Summary Judgment pursuant to Civil Local Rules 7-11 and 79-5(d).
 7

 8           3.         Portions of Plaintiffs’ Opposition contain excerpts from and/or statements derived from

 9   documents and testimony which have been designated “confidential” or “highly confidential” pursuant
10   to the Stipulated Protective Order governing this litigation [Dkt. 306, June 18, 2008], (“Stipulated
11
     Protective Order”).       The confidential/highly confidential designations were made by certain
12
     defendants in this litigation. To qualify as confidential or highly confidential under the Stipulated
13
     Protective Order, information must contain trade secrets or other confidential research, development,
14

15   or commercial information or private or commercially sensitive information. Stipulated Protective

16   Order at ¶ 1.
17           4.         The Stipulated Protective Order requires that a party may not file any confidential
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     material in the public record. Stipulated Protective Order at ¶ 10. The Stipulated Protective Order
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     further provides that any party seeking to file any confidential material under seal must comply with
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     Civil Local Rule 79-5. Stipulated Protective Order at ¶¶ 1, 10.
21

22           5.         The highlighted portions of Plaintiffs’ Opposition contain such material. The following

23   exhibits also contain material that certain defendants have designated as confidential or highly
24   confidential and, pursuant to Local Rule 79-5(e), Plaintiffs seek to submit this material under seal in
25
     good faith in order to comply with the Stipulated Protective Order and the applicable Local Rules:
26
     Exhibit 1, Exhibit 2, Exhibit 3, Exhibit 4, Exhibit 5, Exhibit 6, Exhibit 7, Exhibit 8, Exhibit 9, Exhibit
27

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     DECLARATION IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER
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                                          Master File No. 3:07-cv-5944 SC
     3473930v1/012325
           Case 4:07-cv-05944-JST Document 3236-1 Filed 12/22/14 Page 3 of 3



 1   10, Exhibit 11, Exhibit 12, Exhibit 13, Exhibit 14, Exhibit 15, Exhibit 16, Exhibit 17, Exhibit 18,
 2   Exhibit 19, Exhibit 20, Exhibit 21, Exhibit 22, Exhibit 23, Exhibit 24, Exhibit 25, Exhibit 26, Exhibit
 3
     27, Exhibit 28, Exhibit 29, Exhibit 30, Exhibit 31, Exhibit 32, Exhibit 33, Exhibit 34, Exhibit 35,
 4
     Exhibit 36, Exhibit 37, Exhibit 38, Exhibit 39, Exhibit 40, Exhibit 41, Exhibit 42, Exhibit 43, Exhibit
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     44.
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 7           6.         Therefore, Plaintiffs respectfully request an order sealing portions of Plaintiffs’

 8   Opposition and the exhibits identified above.
 9           I declare under penalty of perjury that the foregoing is true and correct.
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     Executed on this 22nd day of December, 2014 at Houston, Texas.
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                                                                           /s/ David M. Peterson
14                                                                         David M. Peterson

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     DECLARATION IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER
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